 Case 1:23-cv-00858-ADA Document 65 Filed 04/25/24 Page 1 of 9
                                                                                  FILED
                                                                              April 25, 2024
                                                                         CLERK, U.S. DISTRICT COURT

           United States Court of Appeals
                                                                         WESTERN DISTRICT OF TEXAS

                                                                                          klw
                                                                     BY: ________________________________

                for the Fifth Circuit
                                                                                             DEPUTY
                                                                        United States Court of Appeals
                                                                                 Fifth Circuit
                             ___________                                       FILED
                                                                        January 17, 2024
                              No. 23-50668
                             ___________                                     Lyle W. Cayce
                                                                                  Clerk
Book People, Incorporated; VBK, Incorporated, doing
business as Blue Willow Bookshop; Association of
American Publishers; Authors Guild, Incorporated;
Comic Book Legal Defense Fund; American Booksellers
Association,

                                                      Plaintiffs     Appellees,

                                  versus

Martha Wong, in her official capacity as the Chair of the Texas State
Library and Archives Commission; Kevin Ellis, in his official capacity the
Chair of the Texas State Board of Education; Mike Morath, in his official
capacity as the Commissioner of the Texas Education Agency,

                                       Defendants                  Appellants.
                ____________________________

               Appeal from the United States District Court
                    for the Western District of Texas
                         USDC No. 1:23-CV-858
                ____________________________

Before Wiener, Willett, and Douglas, Circuit Judges.

                           JUDGMENT

      This cause was considered on the record on appeal and was argued by
counsel.



                                                                   Certified as a true copy and issued
                                                                   as the mandate on Apr 25, 2024
                                                                   Attest:
                                                                   Clerk, U.S. Court of Appeals, Fifth Circuit
  Case 1:23-cv-00858-ADA Document 65 Filed 04/25/24 Page 2 of 9
                                No. 23-50668




      IT IS ORDERED and ADJUDGED that the judgment of the
District Court is AFFIRMED IN PART and REVERSED IN PART,
and the cause is REMANDED to the District Court for further proceedings
in accordance with the opinion of this Court.

      IT IS FURTHER ORDERED that each party bear its own
costs on appeal.




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        United States Court of Appeals
             for the Fifth Circuit                                      United States Court of Appeals
                                                                                 Fifth Circuit

                              ____________                                     FILED
                                                                           April 16, 2024
                               No. 23-50668                               Lyle W. Cayce
                              ____________                                     Clerk

Book People, Incorporated; VBK, Incorporated, doing
business as Blue Willow Bookshop; Association of
American Publishers; Authors Guild, Incorporated;
Comic Book Legal Defense Fund; American Booksellers
Association,

                                                         Plaintiffs—Appellees,

                                    versus

Martha Wong, in her official capacity as the Chair of the Texas State
Library and Archives Commission; Kevin Ellis, in his official capacity the
Chair of the Texas State Board of Education; Mike Morath, in his official
capacity as the Commissioner of the Texas Education Agency,

                                       Defendants—Appellants.
               ______________________________

               Appeal from the United States District Court
                    for the Western District of Texas
                         USDC No. 1:23-CV-858
               ______________________________

                          PUBLISHED ORDER
Before Wiener, Willett, and Douglas, Circuit Judges.
Per Curiam:
       The court having been polled at the request of one of its members, and
a majority of the judges who are in regular active service and not disqualified
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                              No. 23-50668


not having voted in favor (Fed. R. App. P. 35 and 5th Cir. R. 35), on
the Court’s own motion, rehearing en banc is DENIED.
      In the en banc poll, eight judges voted in favor of rehearing (Chief
Judge Richman and Judges Jones, Smith, Elrod, Ho, Duncan, Engelhardt,
and Oldham), and nine judges voted against rehearing (Judges Stewart,
Southwick, Haynes, Graves, Higginson, Willett, Wilson, Douglas, and
Ramirez).




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                                  No. 23-50668


James C. Ho, Circuit Judge, joined by Jones, Smith, Duncan, and
Engelhardt, Circuit Judges, dissenting from denial of rehearing en banc:
       States have a profound interest in protecting the innocence of children
from various adult activities. We don’t let children buy alcohol. We don’t
let them gamble. They’re not supposed to smoke. See, e.g., 21 U.S.C.
§ 387f(d)(5) (tobacco); 23 U.S.C. § 158 (alcohol); Conn. Gen. Stat.
§ 12-576 (gambling).
       We also shield them from sexually explicit materials. Nothing in the
First Amendment prevents states from taking steps to shield children from
such content. See, e.g., Ginsberg v. New York, 390 U.S. 629, 639 (1968) (“The
well-being of its children is of course a subject within the State’s
constitutional power to regulate,” “justify[ing] . . . limitations . . . upon the
availability of sex material to minors”); FCC v. Pacifica Found., 438 U.S. 726,
749 (1978) (“Bookstores and motion picture theaters . . . may be prohibited
from making indecent material available to children.”); New York v. Ferber,
458 U.S. 747, 757 (1982) (“we have sustained legislation aimed at protecting
the physical and emotional well-being of youth even when the laws have
operated in the sensitive area of constitutionally protected rights”);
Thompson v. Oklahoma, 487 U.S. 815, 824 (1988) (in all “50 States,” “no one
under age 16 may purchase pornographic materials”); see also Pope v. Illinois,
481 U.S. 497, 516 n.11 (1987) (Stevens, J., dissenting) (“As for prohibiting
sale or exhibition of sexually explicit material to minors . . . it has long been
established that the State may go beyond the constitutional definition of
obscenity.”).
       We emphasized these same principles just last month in Free Speech
Coalition, Inc. v. Paxton, 95 F.4th 263 (5th Cir. 2024). See also Woodlands
Pride v. Paxton, No. 23-20480 (5th Cir. Feb. 20, 2024) (separate opinion).




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                                  No. 23-50668


       The READER Act should be easy to affirm under these principles.
See 88th Leg., R.S., ch. 808, 2023 Tex. Sess. Law Serv. 2539 (H.B. 900)
(codified at Tex. Educ. Code §§ 33.021, 35.001–.008). The Act simply
prohibits public school districts and open-enrollment charter schools from
possessing, acquiring, and purchasing content with sexually explicit material
for public school libraries. Id. § 33.021(d)(2)(A). To facilitate transactions
with book vendors, the Act asks vendors to inform the State if a book contains
sexually explicit or sexually relevant material before selling it to a school
district. Id. § 35.002(a). It also asks vendors to inform the State of any books
containing this material previously sold to a school district. Id. § 35.002(c),
(d). And it directs the Texas Education Agency to post the names of books
sold to school districts containing this material. Id. § 35.002(e).
       There is no basis for holding the READER Act unconstitutional under
the First Amendment. The Supreme Court has long affirmed that schools
have “the authority to remove books [from a school library] that are vulgar.”
Bethel Sch. Dist. No. 403 v. Fraser, 478 U.S. 675, 684 (1986) (citing Bd. of
Educ. v. Pico, 457 U.S. 853, 871–72 (1982) (plurality opinion), id. at 879–81
(Blackmun, J., concurring in part and in judgment), and id. at 918–20
(Rehnquist, J., dissenting)).
                                     ***
       The panel concluded that the READER Act violates the First
Amendment because the Act unconstitutionally compels speech. See Book
People, Inc. v. Wong, 91 F.4th 318 (5th Cir. 2024).
       But I don’t see how. The READER Act doesn’t compel anyone to say
anything. It simply provides that any vendor who wishes to sell books to
public schools must answer certain questions prior to the sale—just as
ordinary consumers often ask questions of merchants before deciding
whether to make a purchase. As the panel acknowledged, the Act merely




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                                  No. 23-50668


“requires school book vendors who want to do business with Texas public schools
to issue sexual-content ratings for all library materials they have ever sold (or
will sell), flagging any materials deemed to be ‘sexually explicit’ or ‘sexually
relevant’ based on the materials’ depictions of or references to sex.” Id. at
324 (emphasis added).
       In short: The business can decline to respond, and the consumer can
decline to purchase. That’s not compelled speech—that’s consumer speech.
       The panel did not cite a single case that applies the compelled speech
doctrine when the government is asking questions as a potential consumer—
rather than compelling speech as a regulator armed with the coercive powers
of the state. Every case cited by the panel involves government as regulator,
not consumer. See, e.g., W.V. State Bd. of Educ. v. Barnette, 319 U.S. 624, 642
(1943) (“compelling the flag salute and pledge transcends constitutional
limitations . . . and invades the sphere of intellect and spirit which it is the
purpose of the First Amendment to our Constitution to reserve from all
official control”) (emphasis added); Wooley v. Maynard, 430 U.S. 705, 715
(1977) (“Here, as in Barnette, we are faced with a state measure which forces
an individual, . . . to be an instrument for fostering public adherence to an
ideological point of view he finds unacceptable.”) (emphasis added); 303
Creative LLC v. Elenis, 600 U.S. 570, 602–3 (2023) (“Colorado seeks to force
an individual to speak in ways that align with its views but defy her conscience
about a matter of major significance.”) (emphasis added).
                                      ***
       I respectfully dissent from the denial of rehearing en banc.




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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                 TEL. 504-310-7700
CLERK                                                      600 S. MAESTRI PLACE,
                                                                   Suite 115
                                                          NEW ORLEANS, LA 70130

                              April 25, 2024


Mr. Philip Devlin
Western District of Texas, Austin
United States District Court
501 W. 5th Street
Austin, TX 78701-0000

      No. 23-50668     Book People, Incorporated v. Wong
                       USDC No. 1:23-CV-858


Dear Mr. Devlin,
Enclosed is a copy of the judgment issued as the mandate and a
copy of the court’s opinion.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk


                                  By: _________________________
                                  Christina A. Gardner, Deputy Clerk
                                  504-310-7684
cc:   Mr. Thomas F. Allen Jr.
      Mr. Joshua J. Bennett
      Mr. James G. Byrd
      Ms. Christina Cella
      Mr. Ryan W Goellner
      Ms. Kateland R. Jackson
      Mr. Peter Drew Kennedy
      Mr. Michael Lambert
      Mr. Thomas S. Leatherbury
      Mr. Garrett Meisman
      Mr. JT Morris
      Ms. Lanora Christine Pettit
      Mr. William Reid Pillifant
      Ms. Laura Lee Prather
      Mr. Benjamin Edward Prengler
      Ms. Catherine Lewis Robb
      Mr. Kevin T. Shook
      Ms. Catherine Bukowski Smith
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Mr. Peter Steffensen
Ms. Linda Steinman
Mr. Chance Weldon
Mr. Benjamin Arnold West
Mr. Coy Allen Westbrook
